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 LITE DEPALMA GREENBERG & RIVAS, LLC
 Joseph J. DePalma (JD-7697)
 Susan D. Pontoriero (SP-0463)
 Two Gateway Center, 12th Floor
 Newark, NJ 07102-5003
 Telephone: 973-623-3000
 Facsimile: 973-623-0211

 Proposed Liaison Counsel

 [Additional Counsel on Signature Page]

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY


 [DOCUMENT ELECTRONICALLY FILED]

 EARL MAITLAND, Individually and On        )   Civil Action No. 04-cv-2123-JAG
 Behalf of All Those Similarly Situated,   )
                                           )
                             Plaintiff,    )
                                           )
        vs.                                )
                                           )
 GENTA INC., et al.,                       )
                                           )
                             Defendants.
                                           )
                                           )
 [Caption continued on following page]


     NOTICE OF MOTION OF THE SEEBODE GROUP TO CONSOLIDATE ALL
    RELATED ACTIONS, FOR APPOINTMENT AS LEAD PLAINTIFFS, AND FOR
      APPROVAL OF THEIR SELECTION OF LEAD AND LIAISON COUNSEL
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 HENRY FURINO, On Behalf of Himself and )       Civil Action No. 04-cv-2132-JAG
 All Others Similarly Situated,             )
                                            )
                                Plaintiff,  )
                                            )
        vs.                                 )
                                            )
 GENTA INCORPORATED, et al.,                )
                                            )
                                Defendants.
                                            )
                                            )
 JAN WASSERMAN, On Behalf of Himself )
 and All Others Similarly Situated,             Civil Action No. 04-cv-2133-JAG
                                            )
                                            )
                                Plaintiff,
                                            )
        vs.                                 )
                                            )
 GENTA, INC., et al.,                       )
                                            )
                                Defendants. )
                                            )
 RICHARD M. YARBRO, On Behalf of            )
 Himself and All Others Similarly Situated, )
                                            )
                                Plaintiff,  )   Civil Action No. 04-cv-2160-JAG
                                            )
        vs.                                 )
                                            )
 GENTA, INC., et al.,                       )
                                            )
                                Defendants. )
                                            )

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 SARAH SONTAG, Individually and On         )   Civil Action No. 04-cv-2162-JAG
 Behalf of All Those Similarly Situated,   )
                                           )
                             Plaintiff,    )
                                           )
        vs.                                )
                                           )
 GENTA INC., et al.,                       )
                                           )
                             Defendants.
                                           )
                                           )
 FRED DEN, On Behalf of Himself and All    )
 Others Similarly Situated,                    Civil Action No. 04-cv-2201-JAG
                                           )
                                           )
                             Plaintiff,
                                           )
        vs.                                )
                                           )
 GENTA INC., et al.,                       )
                                           )
                             Defendants.   )
                                           )
 RICHARD JACOBS,                           )
                                           )
                                               Civil Action No. 04-cv-2231-JAG
                             Plaintiff,    )
                                           )
        vs.                                )
                                           )
 GENTA INC., et al.,                       )
                                           )
                             Defendants.   )
                                           )

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Case 2:04-cv-02123-JAG-MCA Document 11 Filed 07/06/04 Page 4 of 10 PageID: 800



 BERNARD SAGGAU, Individually and On       )   Civil Action No. 04-cv-2232-JAG
 Behalf of All Those Similarly Situated,   )
                                           )
                               Plaintiff,  )
                                           )
         vs.                               )
                                           )
 GENTA INC., et al.,                       )
                                           )
                               Defendants.
                                           )
                                           )
 BONNIE ROST, Individually and On Behalf )
 of All Others Similarly Situated,         )
                                           )   Civil Action No. 04-cv-2245-JAG
                               Plaintiff,
                                           )
         vs.                               )
                                           )
 GENTA INC., et al.,                       )
                                           )
                               Defendants. )
                                           )
 ABRAHAM MEISNER, Individually and On )
 Behalf of All Others Similarly Situated,  )
                                           )
                               Plaintiff,  )   Civil Action No. 04-cv-2246-JAG
                                           )
         vs.                               )
                                           )
 GENTA INC., et al.,                       )
                                           )
                               Defendants. )
                                           )

 [Caption continued on following page]
Case 2:04-cv-02123-JAG-MCA Document 11 Filed 07/06/04 Page 5 of 10 PageID: 801



 MILTON PFEIFFER, On Behalf of Himself      )   Civil Action No. 04-cv-2314-JAG
 and All Others Similarly Situated,         )
                                            )
                               Plaintiff,   )
                                            )
         vs.                                )
                                            )
 GENTA INC., et al.,                        )
                                            )
                               Defendants.
                                            )
                                            )
 ANGELICA L. FURLA, On Behalf of Herself )
 and All Others Similarly Situated,         )
                                            )   Civil Action No. 04-cv-2392-JAG
                               Plaintiff,
                                            )
         vs.                                )
                                            )
 GENTA INCORPORATED, et al.,                )
                                            )
                               Defendants.  )
                                            )
 JOHN F. ELLIOT, Individually and On Behalf )
 of All Others Similarly Situated,          )
                                            )
                               Plaintiff,   )
                                            )   Civil Action No. 04-cv-2466-JAG
         vs.                                )
                                            )
 GENTA, INC., et al.,                       )
                                            )
                               Defendants.  )
                                            )

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 BARRY GERARD, On Behalf of Himself and )       Civil Action No. 04-cv-2471-JAG
 All Others Similarly Situated,             )
                                            )
                                Plaintiff,  )
                                            )
        vs.                                 )
                                            )
 GENTA, INC., et al.,                       )
                                            )
                                Defendants.
                                            )
                                            )
 DAVID GREENBERG, On Behalf of All          )
 Others Similarly Situated,                 )
                                            )   Civil Action No. 04-cv-2576-JAG
                                Plaintiff,
                                            )
        vs.                                 )
                                            )
 GENTA, INC., et al.,                       )
                                            )
                                Defendants. )
                                            )
 CASEY M. McGUANE, On Behalf of Himself )
 and All Others Similarly Situated,         )
                                            )
                                Plaintiff,  )   Civil Action No. 04-cv-2581-JAG
                                            )
        vs.                                 )
                                            )
 GENTA INCORPORATED, et al.,                )
                                            )
                                Defendants. )
                                            )

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 HAROLD FULLEN, On Behalf of Himself       )   Civil Action No. 04-cv-2664-JAG
 and All Others Similarly Situated,        )
                                           )
                               Plaintiff,  )
                                           )
        vs.                                )
                                           )
 GENTA INC., et al.,                       )
                                           )
                               Defendants.
                                           )
                                           )
 CORY HECHLER, On Behalf of All Others )
 Similarly Situated,                           Civil Action No. 04-cv-2665-JAG
                                           )
                                           )
                               Plaintiff,
                                           )
        vs.                                )
                                           )
 GENTA, INC., et al.,                      )
                                           )
                               Defendants. )
                                           )
 WILLIAM T. DEANE, On Behalf of Himself )
 and All Others Similarly Situated,        )
                                           )   Civil Action No. 04-cv-2876-JAG
                               Plaintiff,  )
                                           )
        vs.                                )
                                           )
 GENTA INCORPORATED, et al.,               )
                                           )
                               Defendants. )
                                           )

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 ARTHUR SIEGAL, Individually and On         )     Civil Action No. 04-cv-2908-JAG
 Behalf of All Those Similarly Situated,    )
                                            )
                             Plaintiff,     )
                                            )
        vs.                                 )
                                            )
 GENTA INC., et al.,                        )
                                            )
                             Defendants.
                                            )
                                            )     Civil Action No. 04-cv-2936-JAG
 JOHN T. JACOBUS, Individually and On       )
 Behalf of All Others Similarly Situated,   )
                                            )
                             Plaintiff,
                                            )
        vs.                                 )
                                            )
 GENTA INCORPORATED, et al.,                )
                                            )
                             Defendants.    )
                                            )




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         PLEASE TAKE NOTICE that Class members Michael A. Seebode, Linda Everson, Glenn

 M. Tatum and JoEllen Lenoir Blunk (the “Seebode Group” or “Movants”) by their counsel, will

 move before the Honorable Joseph A. Greenaway, Jr., U.S.D.J., at the United States District Court

 for the District of New Jersey, Martin Luther King Courthouse, 50 Walnut Street, Newark, New

 Jersey 07102, on a date to be fixed by the Court, for an Order to: (i) consolidate all related securities

 class actions; (ii) appoint Movants as Lead Plaintiffs in the consolidated action; and (iii) approve

 Movants’ selection and retention of Scott + Scott, LLC, as Lead Counsel and Lite DePalma

 Greenberg & Rivas, LLC, as Liaison Counsel. In support of this Motion, Movants will rely on the

 accompanying Memorandum of Law and the Declaration of Joseph J. DePalma and the exhibits

 annexed thereto. A proposed form of Order is submitted herewith.

 DATED: July 6, 2004                                LITE DEPALMA GREENBERG & RIVAS,
                                                    LLC


                                                    /s/ Joseph J. DePalma
                                                    Joseph DePalma
                                                    Susan D. Pontoriero
                                                    Two Gateway Center, 12th Floor
                                                    Newark, New Jersey 07102
                                                    Telephone: 973-623-3000
                                                    973/623-0858 (Fax)

                                                    Proposed Liaison Counsel
                                                    JOHN S. CHAPMAN, ESQ. LIMITED
                                                    John Chapman
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                                                    Cleveland, OH 44113
                                                    Telephone: 216/241-8172
                                                    216/241-8175 (fax)




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                                      SCOTT + SCOTT, LLC
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                                      Colchester, CT 06415
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                                       - and -

                                      Edmund W. Searby
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                                      Attorneys for Movant




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